Case 6:09-cr-00018-RWS-KNM               Document 296      Filed 04/14/10      Page 1 of 1 PageID #:
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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE EASTERN DISTRICT OF TEXAS

                                             TYLER DIVISION

 UNITED STATES OF AMERICA                          §

 v.                                                §                CRIM. ACTION NO. 6:09CR18

 ERIC FERNANDO REYES (6)                           §


                                ORDER ADOPTING REPORT AND
                             RECOMMENDATION OF UNITED STATES
                                    MAGISTRATE JUDGE

          The Report and Recommendation of the Magistrate Judge, which contains her findings,

 conclusions, and recommendation for the disposition of an ancillary forfeiture proceeding in this case

 has been presented for consideration. The Report and Recommendation recommends that the

 Motion to Voluntarily Dismiss the Petition for Remission or Mitigation of Forfeiture (document

 #280), filed by Angel Torres on March 10, 2010, be granted. No written objections have been filed.

 The Court therefore adopts the findings and conclusions of the Magistrate Judge as those of the

 Court.

          In light of the foregoing, it is

          ORDERED that the Motion to Voluntarily Dismiss the Petition for Remission or Mitigation

 of Forfeiture (document #280) is GRANTED and the Petition for Remission or Mitigation of

 Forfeiture filed by Angel Torres on behalf of Irving Trucks on July 13, 2009 (document #177) is

 DISMISSED.

          So ORDERED and SIGNED this 14th day of April, 2010.




                                                                                          Page 1 of 1
                                   __________________________________
                                   LEONARD DAVIS
                                   UNITED STATES DISTRICT JUDGE
